           Case 2:19-cv-00920-MRH Document 6 Filed 08/21/19 Page 1 of 2
',                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF PENNSYLVANIA



                                              CIVIL ACTION NO. 2:19-CV-920
     CHRISTINA PAUL,


                                              ELECTRONICALLY FILED
          Plaintiff,


     v.



     OSI RESTAURANT PARTNERS,
     LLC and BLOOMIN' BRANDS, INC.

                                              NOTICE OF VOLUNTARY DISMISSAL



           Defendants.


                                               Filed on behalf of Plaintiff:

                                               CHRISTINA PAUL
                                               Counsel of Record for this Party:
                                               Matthew C. Cairone
                                               PA ID NO 49638
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              Case 2:19-cv-00920-MRH Document 6 Filed 08/21/19 Page 2 of 2
'·                               NOTICE OF VOLUNTARY DISMISSAL

                       No defendant has filed an answer or a motion for summary judgment.

     Accordingly, Plaintiff gives this Notice of Voluntary Dismissal under Fed. R. Civ. P.

     4l(a)(l)(A)(i).




     Matthew Cairone
     Counsel for Plaintiff
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